Case 1:17-cv-04327-LLS-RWL Document 202-1 Filed 01/19/21 Page 1 of 5




                             Exhibit A
             Case 1:17-cv-04327-LLS-RWL Document 202-1 Filed 01/19/21 Page 2 of 5


Zahner, Brendan E.

From:                               Zahner, Brendan E.
Sent:                               Thursday, April 02, 2020 12:45 PM
To:                                 'petersimesq@yahoo.com'; 'ohuang .'
Subject:                            RE: Dardashtian et al v. Gitman et al 17-cv-4327


Sang,

This will be my last effort to contact you regarding the $125,000 that was disbursed to your trust account for the
purpose of paying legal fees, prior to filing a motion with the Court. You have been repeatedly made aware, both by
your opposing counsel (prior to the disbursement) and by Dentons, that Dentons has asserted a lien and an interest in
the funds disbursed. I have been trying to contact you by phone and email for several weeks, but you have failed to
respond in any way.

If you do not respond promptly, we will have no choice but to seek an order from the Court requiring you to preserve
the funds.


                  Brendan E. Zahner

                  Our COVID-19 Client Resources Hub is available to the public, part of Dentons' global commitment to
                  help our clients and our communities navigate this pandemic's legal and business challenges.

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                  brendan.zahner@dentons.com
                  Bio | Website

                  Dentons US LLP
                  1221 Avenue of the Americas, New York, NY 10020-1089

                  Lee International > Kensington Swan > Bingham Greenebaum > Cohen & Grigsby > Sayarh &
                  Menjra > Larraín Rencoret > Hamilton Harrison & Mathews > Mardemootoo Balgobin > HPRP > Zain &
                  Co. > Delany Law > Dinner Martin > For more information on the firms that have come together to
                  form Dentons, go to dentons.com/legacyfirms

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                  copying, distribution and use are prohibited; please notify us immediately and delete this copy from your system.
                  Please see dentons.com for Legal Notices.



From: Zahner, Brendan E.
Sent: Friday, March 27, 2020 1:54 PM
To: 'petersimesq@yahoo.com' <petersimesq@yahoo.com>; 'ohuang .' <ohuang@simdepaola.com>
Subject: RE: Dardashtian et al v. Gitman et al 17-cv-4327

Sang,

I just left another message at your office. Please respond to my multiple emails regarding the funds that were
transferred to your trust account for the purpose of paying legal fees. As you know, Dentons is owed a substantial
amount of money on account of unpaid legal fees, and claims an interest in the funds in your trust account.

                                                                 1
             Case 1:17-cv-04327-LLS-RWL Document 202-1 Filed 01/19/21 Page 3 of 5


                  Brendan E. Zahner

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                  on the firms that have joined Dentons, go to dentons.com/legacyfirms

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From: Zahner, Brendan E.
Sent: Thursday, March 19, 2020 4:06 PM
To: 'petersimesq@yahoo.com' <petersimesq@yahoo.com>
Subject: RE: Dardashtian et al v. Gitman et al 17-cv-4327

Sang,

It is becoming difficult not to be concerned with you not returning my calls or emails. You are holding funds in your trust
account that Dentons claims an interest in. At a minimum, please confirm promptly that these funds have not and will
not be disbursed without Dentons’ agreement.


                  Brendan E. Zahner

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From: Zahner, Brendan E.
Sent: Thursday, March 12, 2020 4:29 PM
To: 'petersimesq@yahoo.com' <petersimesq@yahoo.com>
Subject: RE: Dardashtian et al v. Gitman et al 17-cv-4327

Sang,
                                                                 2
             Case 1:17-cv-04327-LLS-RWL Document 202-1 Filed 01/19/21 Page 4 of 5


Following up on the below. As you know, Dentons has asserted a lien for its unpaid legal bills. If funds are being
disbursed to your trust account for the purposes of paying counsel, you should be aware that Dentons is still owed far in
excess of $125,000 and claims an interest in all such funds. Please contact me to discuss, and naturally under RPC 1.15
no funds should be disbursed out of your trust account if there is any dispute regarding Dentons’ entitlement to the
funds.

Thanks, and I look forward to speaking with you.


                  Brendan E. Zahner

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From: Zahner, Brendan E.
Sent: Wednesday, March 11, 2020 5:59 PM
To: 'petersimesq@yahoo.com' <petersimesq@yahoo.com>
Subject: FW: Dardashtian et al v. Gitman et al 17-cv-4327

Sang,

I just tried calling you to discuss -- could you please call me at 516 767 6751 when you are free? I thought the court had
granted a motion by the other side to pay Dentons $100,000 directly, so I would like to understand what the plans are
for these funds.

Thanks,


                  Brendan E. Zahner

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                  brendan.zahner@dentons.com
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                  & Mathews > Mardemootoo Balgobin > HPRP > Zain & Co. > Delany Law > Dinner Martin > For more
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                                                                 3
             Case 1:17-cv-04327-LLS-RWL Document 202-1 Filed 01/19/21 Page 5 of 5

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From: Evan Ostrer <eostrer@adgmlaw.com>
Sent: Wednesday, March 11, 2020 12:46 PM
To: Peter Sim <petersimesq@yahoo.com>
Cc: Barry Guaglardi <bguaglardi@adgmlaw.com>; Sdepaola . <sdepaola@simdepaola.com>; Zahner, Brendan E.
<brendan.zahner@dentons.com>
Subject: RE: Dardashtian et al v. Gitman et al 17-cv-4327


[External Sender]

Sang,

Thank you for your response.

To confirm, (1) $125,000 will be made payable to Plaintiffs’ counsel, Guaglardi & Meliti LLP; and (2) $125,000 to the
“Sim & DePaola Attorney Trust Account” due to Dentons’ prior assertion of a retaining or charging lien. Brendan Zahner,
Esq. of Dentons is copied by way of this correspondence for you to address same with Dentons, if necessary.

Thanks

Evan
Evan Ostrer
Guaglardi & Meliti, LLP
365 West Passaic Street, Suite 130
Rochelle Park, New Jersey 07662
(201) 947-4100 ext.160
(201) 947-1010 (fax)

From: Peter Sim [mailto:petersimesq@yahoo.com]
Sent: Wednesday, March 11, 2020 12:23 PM
To: Evan Ostrer <eostrer@adgmlaw.com>
Cc: Barry Guaglardi <bguaglardi@adgmlaw.com>; Sdepaola . <sdepaola@simdepaola.com>
Subject: Re: Dardashtian et al v. Gitman et al 17-cv-4327

Please be advised that David Gitman will consent to the distribution for purposes of paying professional fees.




                                                                 4
